                                                                         Case 3:18-cr-03677-W Document 106 Filed 11/13/19 PageID.814 Page 1 of 2



                                                                   1   Gregory A. Vega, Esq. (CABN 141477)
                                                                       Ricardo Arias, Esq. (CABN 321534)
                                                                   2   Philip B. Adams, Esq. (CABN 317948)
                                                                   3   SELTZER CAPLAN McMAHON VITEK
                                                                       A Law Corporation
                                                                   4   750 B Street, Suite 2100
                                                                   5   San Diego, California 92101-8177
                                                                       Telephone: (619) 685-3003
                                                                   6   Facsimile: (619) 685-3100
                                                                   7   E-Mail:      vega@scmv.com; padams@scmv.com;
                                                                                    arias@scmv.com
                                                                   8
                                                                   9   Attorneys for Defendant DUNCAN D. HUNTER

                                                                  10                          UNITED STATES DISTRICT COURT
                                                                  11                       SOUTHERN DISTRICT OF CALIFORNIA
                                                                  12                                   (Hon. Thomas J. Whelan)
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13   UNITED STATES OF AMERICA,                    Case No. 18-CR-3677-W
                                    750 B STREET, SUITE 2100




                                                                  14
                                                                                          Plaintiff,                NOTICE OF MOTION AND MOTION
                                                                  15                                                OF SELTZER CAPLAN McMAHON
                                                                  16                v.                              VITEK, GREGORY A. VEGA,
                                                                                                                    RICARDO ARIAS AND PHILIP B.
                                                                  17   DUNCAN D. HUNTER,                            ADAMS FOR LEAVE TO
                                                                  18                                                WITHDRAW AS COUNSEL FOR
                                                                                          Defendant.                DEFENDANT DUNCAN D. HUNTER;
                                                                  19                                                DECLARATION OF GREGORY A
                                                                                                                    VEGA
                                                                  20
                                                                                                                    Courtroom:          3C
                                                                  21                                                Trial Date:         January 22, 2020
                                                                  22   TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORDS:
                                                                  23
                                                                  24         PLEASE TAKE NOTICE that the law firm of Seltzer Caplan McMahon Vitek
                                                                  25   and attorneys Gregory A. Vega, Ricardo Arias and Philip B. Adams request leave to
                                                                  26   withdraw as co-counsel of record for Defendant DUNCAN D. HUNTER. Such request
                                                                  27   is made pursuant to Southern District of California Local Civil Rule 83.3(f)(3).
                                                                  28         Withdrawal will neither prejudice Defendant Duncan D. Hunter nor delay the
                                                                                                                                              Case No. 18-CR-3677-W
                                                                         Case 3:18-cr-03677-W Document 106 Filed 11/13/19 PageID.815 Page 2 of 2



                                                                   1   start of trial currently set for January 22, 2020. Defendant has been and will continue to
                                                                   2   be represented by Co-counsel Devin Burstein and Paul Pfingst. Messrs. Burstein and
                                                                   3   Pfingst are familiar with the issues presented, and Mr. Pfingst will be the lead trial
                                                                   4   counsel. Withdrawal is at the demand of Defendant Duncan D. Hunter.
                                                                   5         Seltzer Caplan McMahon Vitek and attorneys Gregory A. Vega, Ricardo Arias
                                                                   6   and Philip B. Adams, have been informed by Defendant Duncan D. Hunter that he is
                                                                   7   terminating their representation of him in this matter. See Declaration of Gregory A.
                                                                   8   Vega in Support of Motion to Withdraw, at ¶ 2. Defendant Duncan D. Hunter initiated
                                                                   9   the termination of representation. See id., at ¶ 2.
                                                                  10
                                                                  11   Dated: November 13, 2019                  SELTZER CAPLAN McMAHON VITEK
                                                                  12                                             A Law Corporation
SELTZER CAPLAN MCMAHON VITEK
                               SAN DIEGO, CALIFORNIA 92101-8177




                                                                  13
                                    750 B STREET, SUITE 2100




                                                                  14                                             By:   s/ Gregory A. Vega
                                                                                                                       Gregory A. Vega
                                                                  15                                             Attorneys for Defendant, DUNCAN D.
                                                                                                                 HUNTER
                                                                  16
                                                                  17   Dated: November 13, 2019                  SELTZER CAPLAN McMAHON VITEK
                                                                                                                 A Law Corporation
                                                                  18
                                                                  19
                                                                                                                 By:   s/ Ricardo Arias
                                                                  20                                                   Ricardo Arias
                                                                  21                                             Attorneys for Defendant, DUNCAN D.
                                                                                                                 HUNTER
                                                                  22
                                                                  23   Dated: November 13, 2019                  SELTZER CAPLAN McMAHON VITEK
                                                                                                                 A Law Corporation
                                                                  24
                                                                  25
                                                                                                                 By:   s/ Philip B. Adams
                                                                  26                                                   Philip B. Adams
                                                                  27                                             Attorneys for Defendant, DUNCAN D.
                                                                                                                 HUNTER
                                                                  28
                                                                                                                       2                      Case No. 18-CR-3677-W
